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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JENNIFER LIND,                            )
                                          )
       Plaintiff,                         )
                                          ) Civil Action No.
v.                                        ) 1:21-CV-01028-CAP
                                          )
ATLANTA INTERNATIONAL                     )
SCHOOL, INC.,                             )
                                          )
       Defendant.                         )

                        STIPULATION OF DISMISSAL

      COME NOW, the Plaintiff and the Defendant herein, and, pursuant to the

provisions of Federal Rule of Civil Procedure 41(a)(1)(ii), hereby dismiss the above-

styled civil action WITH PREJUDICE. Each party to pay its own fees, costs, and

expenses.

      Respectfully submitted this 24th day of June, 2021.

WE CONSENT AND SO STIPULATE:

s/ Mary Anne Ackourey                      s/ Adian R. Miller
Mary Anne Ackourey                         Adian R. Miller
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